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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
 YOUNG AMERICA’S FOUNDATION;
 BINGHAMTON UNIVERSITY COLLEGE
 REPUBLICANS; AND REIN BEY, IN HER OFFICIAL                              STATEMENT OF
 CAPACITY AS PRESIDENT OF THE COLLEGE                                  MATERIAL FACTS IN
 REPUBLICANS OF BINGHAMTON UNIVERSITY,                                    SUPPORT OF
                                                                       DEFENDANT HARVEY
                                  Plaintiffs,                          STENGER’S MOTION
                                                                         FOR SUMMARY
                         v.                                                JUDGMENT
 HARVEY STENGER, President of SUNY-Binghamton, in
 his official and individual capacities; BRIAN ROSE, Vice            Civil Action No.:
 President for Student Affairs of SUNY Binghamton, in his            3:20-cv-00822-(LEK)(TWD)
 official and individual capacities; JOHN PELLETIER,
 Chief of SUNY-Binghamton UPD, in his official
 and individual capacities; STUDENT ASSOCIATION OF
 BINGHAMTON UNIVERSITY,

                                  Defendants.


          Defendant Harvey Stenger (“Pres. Stenger”) submits the following statement of Material

Facts in support of his Motion For Summary Judgment pursuant to Federal Rule of Civil Procedure

56 and Local Rule of Civil Procedure 56.1. All references are to pleadings on file with the Court,

to the declarations and exhibits submitted by Pres. Stenger on this motion, and to publicly available

information.

Parties

          1.     Plaintiff Young America’s Foundation (“YAF”) is a “nonprofit organization. . .

whose mission is to educate the public on the ideas of individual freedom, a strong national

defense, free enterprise, and traditional value.” Exhibit A, ¶ 9. To that end, YAF “partners with
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like-minded student organizations on university campuses to, among other things, co-host

speakers.” Exhibit1 A, ¶ 10.

       2.      Plaintiff Binghamton University College Republicans (“CR”) is a registered

student organization at the State University of New York at Binghamton (the “University”). See

Exhibit A, ¶ 11. CR’s purpose is to “make known and promote the principles of the Republican

Party among members of the SUNY-Binghamton campus and community; to aid in the election

of Republican candidates at all levels of government; to encourage and assist in the organization

and active functioning of the Republican party at local, state, and national levels; and, to develop

political skills and leadership abilities among Republican students as preparation for future service

by them to the Republican Party and Community.” Exhibit A, ¶ 12.

       3.      Plaintiff Rein Bey (“Bey”) was the Vice President of CR during the fall 2019

semester and during the spring semester of 2023, was President of CR. See Exhibit D, pg. 18. Bey

is no longer a student at the University and is no longer a member or president of CR. See Finch

Dec., ¶¶6-9.

       4.      Pres. Stenger has been the President of the University since January, 2012. See

Exhibit P, pg. 12; Declaration of Pres. Stenger, dated May 31, 2024, submitted in support of the

motion (“Stenger Dec.”), ¶¶ 2-3.

       5.      Defendant Brian Rose (“VP Rose”) has been the Vice President for Student Affairs

at the University since 2008. See Exhibit O, Pg. 10.




1All references to “Exhibit” refer to the exhibits to the Declaration of Matthew J. Larkin, dated
May 31, 2024, submitted in support of the motion.
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       6.      Defendant Chief John Pelletier (“Chief Pelletier”) was the Chief of the University’s

Police Department (“UPD”) from December of 2018 until his retirement in July of 2022. See

Exhibit Q, pg. 14.

       7.      Defendant Student Association of Binghamton University, Inc. (“SA”) is an

incorporated entity, separate and distinct from the University. See Stenger Dec., ¶ 19. SA oversees

and charters subsidiary student organizations pursuant to SA’s criteria and rules and provides

resources to those organizations. See Exhibit W, pgs. 12, 21-22, 32, 42-43, 65-66, 75-81, 84-85;

Exhibit X; Exhibit Y; Exhibit AA; Stenger Dec., ¶ 19. SA also handles, among other things,

discipline of student organizations. Id.

Parties Previously Dismissed

       8.      Progressive Leaders of Tomorrow (“PLOT”) is a community group existing outside

the University. See Exhibit J, Pg. 169.

       9.      The claims against PLOT were dismissed for lack of subject matter jurisdiction.

See Dkt. No. 223.

       10.     College Progressives is a student group at the University. See Exhibit J, pg. 171.

       11.     The claims against College Progressive were dismissed for lack of subject matter

jurisdiction. See Dkt. No. 238.

SA’s Relationship with the University

       12.     SA is a separate and independent organization from the University. See Exhibit P,

pg. 127; Exhibit V, pg. 17; Stenger Dec., ¶ 19.

       13.     SA is managed by six executive board and two congress members. See Exhibit V,

pgs. 13-14. All eight individuals are University students elected to the position. Id.




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        14.    SA also has two professional non-student staff members, Matthew Johnson and

Ornella Harvey. Id. Johnson works entirely and solely for SA and does not take any direction from

any University employee. See Exhibit W, pgs. 21-22.

        15.    SA does not report to anyone at the University. See Exhibit V, pg. 20.

        16.    There are no regular meetings between SA and the University. Id.

        17.    The University cannot direct the SA to take any action. Id. at pg. 22.

        18.    The University does not exercise any control over SA. Id.

        19.    There has never been an instance in which the University directed SA to take a

certain course of action. Id.

        20.    SA does not consult or take direction from the University regarding its official

actions. See Exhibit O, pg. 166; Exhibit U, pgs. 15, 25-26; Exhibit V, pgs. 22, 48; Exhibit W, pgs.

80, 81, 168.

        21.    SA is in charge of recognizing, disciplining sanctioning, suspending, and revoking

charters of student organization, such as CR. See Exhibit W, pg. 32; Exhibit X; Exhibit Y, Section

VII; Exhibit AA.

        22.    Pres. Stenger and the University do not have the power to direct the SA to

recognize, sanction, suspend, revoke or reinstate a student organization. Id.; Stenger Dec., ¶¶ 21-

26.

The University and UPD’s Relationship

        23.    UPD was and is the primary law enforcement agency on the University campus.

See Stenger Dec., ¶ 15.

        24.    At the time of Plaintiffs’ allegations, Chief Pelletier, reported to the Associate Vice

President of Emergency Services Tim Faughnan (“AVP Faughnan”). See Exhibit R, pg. 48.


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        25.    AVP Faughnan conducted meetings with Chief Pelletier every two weeks. See

Exhibit P, pg. 16. Both parties would bring in agenda items to discuss. Id..

        26.    UPD has authority to make arrests and charge individuals with New York State

crimes, whereas University administration handles disciplinary actions against individual students

(not student organizations) for violations of University rules. See Exhibit P, pgs. 26, 22-23, 28,

100-101; Exhibit O, pg. 11; Exhibit R, pgs. 22-23, 123-124.

        27.    Pres. Stenger does not have the authority to order the UPD to make arrests. See

Exhibit P, pg. 71; Stenger Dec., ¶ 17. There was never a time when the University administration

decided whether or not the UPD should arrest anybody. Id. at pg. 29.

The November 14, 2019 “Tabling Incident”

        28.    The Spine is a high traffic area of the University’s campus between the dining hall

and the lecture halls. See Exhibit G, pgs. 120-122.

        29.    Due to the high traffic, the Spine is in high demand for tabling. See Exhibit K, pg.

124; Exhibit J, pgs. 177-178; Exhibit F, pg. 95.

        30.    Tabling is when a person or group sets up tables to promote something happening

on campus. See Exhibit W, pgs. 49-50.

        31.    Because of the high demand for tabling, the University requires student

organizations to reserve space in the Spine prior to tabling. See Exhibit W, pg. 50; Exhibit V, pg.

50.

        32.    Despite knowledge of the reservation requirement, CR did not attempt to make a

reservation for tabling on November 14, 2019. See Exhibit V, pgs. 54-58, 62, 64-67, 70-72, 84-85,

89-90, 115; Exhibit K, pgs. 126, 155, 198-199; Exhibit F, pgs. 104-106, 154, 222-228; Exhibit C,

pgs. 66-68, 89, 154.


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       33.     Consequently, CR and Turning Point USA, a group that was not chartered or

otherwise recognized by the SA, tabled for hours in the Spine on November 14, 2019 without a

permit (the “Tabling Event”). See Exhibit K, pgs. 141-142; Exhibit H, pgs. 78-83, 90; Exhibit J,

pg. 217; Exhibit F, pgs. 115, 117.

       34.     The Hillel Jewish Student Union, another student organization, had reserved the

Spine so it may table on November 14, 2019, but was unable to because CR and Turning Point

USA were there tabling without a permit. See Exhibit W, pg. 62; Exhibit DD.

       35.     After CR and Turning Point USA members tabled for several hours, a confrontation

occurred between their members and individuals protesting them, including members of the

College Progressives. See Exhibit F, pgs. 127-128; Exhibit H, pgs. 92-93.

       36.     UPD sent officers to the scene of the Tabling Event in response to several calls that

reporting a disturbance between the groups of people. See Exhibit Q, pg. 82.

       37.     Approximately five to eight UPD officers responded to the scene. See Exhibit Q,

pgs. 84-85; Exhibit H, pgs. 95-102; Exhibit F, pg. 137.

       38.     When UPD officers first arrived at the scene there were approximately 30

individuals there. See Exhibit S, pg. 62.

       39.     That number grew to over 100 people. Id. at pg. 65.

       40.     The arriving UPD officer was concerned that the protesters were going to get

physical and unruly. Id. at pg. 66.

       41.     The officer did not believe UPD would be able to disperse the crowd safely with

the number of officers that were on duty. Id. at pgs. 67-68.

       42.     The officer did not believe it was safe at the time to make any arrests because it

would have escalated the scene. Id. at pg. 71.


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        43.     UPD asked CR to remove its table because CR did not have a tabling reservation.

Id. at pg. 72-73.

        44.     UPD did not direct CR members to leave the Spine or otherwise remove them. See

Exhibit T, pg. 36; Exhibit H, pgs. 97-99.

        45.     CR initially did not want to leave. See Exhibit S, pg. 74.

        46.     After passing out all their flyers advertising the Laffer Event, and with no further

intention to remain, CR eventually removed its table and elected to leave with the UPD who drove

the CR members off campus away from the hostile crowd. See Exhibit J, pg. 227.

        47.     Pres. Stenger heard the commotion of the Tabling Event from his office, looked out

the window and saw a partial view of the tabling area. See Exhibit P, pg. 40. He saw a “significant

number of people.” Id. Other than seeing a group of people, he was too far away to discern any

other details. Id. at pg. 41.

        48.     Criminal charges were later filed against two of the protestors at the Tabling Event,

at the request of the CR. See Exhibit Q, pgs. 97-98; Exhibit S, pg. 80, Exhibit H, pgs. 110-119;

Exhibit T, pgs. 42-43.

        49.     The day after the Tabling Event, Pres. Stenger released a statement regarding the

tabling incident, which was drafted by the University’s Office of Communications. See Exhibit P,

pg. 40; Exhibit CC.

        50.     The following day, SA revoked CR’s reservation privileges as a consequence for

tabling without a reservation. Exhibit O, pgs. 92-94; Exhibit W pgs. 72-73; Exhibit T, pgs. 42-43.

Those privileges were restored the following year. Id.

        51.     Pres. Stenger, nor anyone else in the University administration, had a role in

revoking the CR’s privileges. See Exhibit P, pg. 128; Stenger Dec., ¶¶ 23-26.


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       52.     VP Rose made the decision not to pursue academic charges against the protestors

because he did not believe it would serve any purpose in de-escalating the conflict that was

developing on campus particularly because the student conduct process takes months; that the

student conduct process would likely not separate anybody from the University; and that it would

continue to stoke reaction and disruption. See Exhibit O, pg. 21.

Preparation for the Laffer Event

       53.     Dr. Arthur Laffer (“Dr. Laffer”) is the founder and chairman of Laffer Associates,

an economic research and consulting firm. See Exhibit M, pgs. 15-16. Dr. Laffer routinely speaks

at college campuses. Id..

       54.     He charges $20,000 - $25,000 per speaking engagement. Id..

       55.     The payor of Dr. Laffer’s fees depends on the event. Exhibit L, pg. 40. Sometimes

the fee is paid entirely by YAF and other times only a portion is paid by YAF. Id..

       56.     CR worked with YAF to arrange for Dr. Laffer to speak at the University (the

“Laffer Event”). See Exhibit J, pgs. 97-98.

       57.     CR raised $15,000 for Dr. Laffer to speak at the University through donations. Id.

at pg. 110.

       58.     YAF covered the remainder of Dr. Laffer’s fee (at least of portion of which was

also through donations) and handled the logistics of getting Dr. Laffer to the University. Id. at pg.

109.

       59.     In preparation for the Laffer Event, UPD Investigator John Gallagher (“Inv.

Gallagher”) emailed CR President John Restuccia to ask if Dr. Laffer had any security concerns

and if Dr. Laffer had prior appearances at other colleges so that UPD could reach out to those




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campuses to see if there had been any security issues. See Exhibit J, pg. 176; Exhibit DD. Mr.

Restuccia could not recall if he ever responded to that email. See Exhibit J, pg. 177.

       60.       CR planned for about 150 people to attend the Laffer Event, which the University

did not consider a large event. See Exhibit S, pgs. 91-93.

       61.       Because YAF and CR made it a non-ticket event, it was open to the public and UPD

could not restrict who entered. Id. at 100.

       62.       YAF decided to hire two private security officers from Pinkerton to protect Dr.

Laffer during the Laffer Event. See Exhibit T, pgs. 57-59; Exhibit N, pgs. 44, 51, 58-59; Exhibit

L, pgs. 96-98.

       63.       A few days before the Laffer Event, YAF forwarded an email to UPD to alert the

University about PLOT posting messages on Facebook calling for violence at the Laffer Event and

equating YAF to Nazis. See Exhibit Q, pgs. 150-151; Exhibit RT pgs. 63-69; Exhibit L, pgs. 105-

108.

       64.       During the morning of the Laffer Event, Chief Pelletier, VP Rose, Pres. Stenger,

and other University staff discussed the Laffer Event, including where it was to be held how

freedom of speech may be protected and how Dr. Laffer could give his lecture safely. See Exhibit

Q, pgs. 158-163; Exhibit O, pgs. 40-41; Exhibit P, pgs. 65-73; Exhibit R, pgs. 79, 84-97.

       65.       The University and UPD took four proactive steps to ensure that the Laffer Event

went safely and without disruption: (1) relocating the Laffer Event to a larger lecture hall room;

(2) providing a space for demonstrators to hold their “speak-out” in an adjacent lecture hall; (3)

deploying a large number of police to maintain order at the event; and (4) asking attendees to

reserve their questions until the end of the lecture. See Exhibit O, pgs. 55-56; Exhibit EE.




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       66.     The Laffer Event was moved to a larger lecture hall room because the original room

only had one door and was in the basement and far from the fire exits. See Exhibit O, pg. 42. With

the original space, there was concern that it would be difficult to manage and that it would be

difficult to protect the speaker since there was only one way in and out of the room. Id..

       67.     With the original lecture space, UPD was concerned with ingress and egress routes,

the number of seats, and the number of classrooms in the surrounding area. See Exhibit Q, pg. 168.

       68.     VP Rose suggested providing protest groups with another space to hold their

“speak-out.” See Exhibit O, pg. 47.

       69.     UPD prepared an Operational Order, which consisted of an incident action plan for

the Laffer Event. See Exhibit Q, pgs. 164, 167, 199-200; Exhibit FF.

       70.     Chief Pelletier was unsure whether Dr. Laffer was aware of the potential safety

concerns and wanted to make sure Dr. Laffer received all the information directly from him. See

Exhibit Q, pg.180.

       71.     Chief Pelletier met Dr. Laffer at the airport when he arrived and talked to him for

about 90 seconds. Id. at pg. 181.

       72.     Chief Pelletier did not present the option to Dr. Laffer of not proceeding with the

event. Id. at pg. 182. Instead, Chief Pelletier simply explained to Dr. Laffer that there were

potential protests planned. Id. at pgs. 181-182, 186-187.

       73.     Despite the advance communications by and between UPD, CR, and YAF

regarding the potential for disruption, Dr. Laffer was unaware of any threats to disrupt his speech

until he arrived at the University. See Exhibit M, pg. 36.




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The Laffer Event

       74.      Prior to the Laffer Event beginning, there were approximately nine UPD officers,

including Chief Pelletier and two other UPD chiefs, posted inside the Laffer lecture hall and 14

other officers in the nearby hallways. See Exhibit Q, pgs. 200-202; Exhibit I, pg. 109.

       75.      There was also a UPD chief posted in the incident command conference room at

the UPD office to supervise via a live video feed. See Exhibit Q, pg. 201, 206- 207; Exhibit R, pgs.

107-110.

       76.      VP Rose and other members of the administration, (not including Pres. Stenger)

were also in the incident command conference room watching the Laffer Event via a live video

feed. See Exhibit O, pgs. 60, 62-64.

       77.      Chief Pelletier made an announcement for everyone in the lecture hall to take their

seats and clear the aisles. See Exhibit Q, pgs. 213-214.

       78.      Restuccia proceeded to introduce Dr. Laffer and told the audience that if anyone

had disagreements, they could ask questions during the question-and-answer portion after he

spoke. See Exhibit J, pg. 283.

       79.      Shortly after Dr. Laffer began his speech, the event was disrupted. See Exhibit T,

pgs. 93-95.

       80.      A male in the second row stood from his seat and began yelling comments from his

phone. Id. at pgs. 95-97. A second individual then gave him a megaphone to further amplify his

comments. Id.

       81.      UPD officers attempted to approach the individual shouting into the megaphone to

stop the disruption, prompting other members of the audience to form a barrier around him. Id. at

pgs. 97-98.


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       82.     Meanwhile, CR members held up “free speech” signs and made a wall to protect

Dr. Laffer. See Exhibit J, pg. 289.

       83.     The “free speech” signs were provided by YAF. Id..

       84.     Inv. Gallagher was fearful for everyone’s safety in that lecture hall. See Exhibit T,

pg. 103.

       85.     CR feared for their safety. See Exhibit H, pg. 145; Exhibit G, pg. 154.

       86.     YAF’s representative was concerned for Dr. Laffer’s safety. See Exhibit L, pgs.

214-215.

       87.     During the disruption, when asked by Inv. Gallagher how he was doing, Dr. Laffer

responded that he would like to give it another ten minutes to see if it calmed down. See Exhibit

Q, pgs. 223-224; Exhibit T, pgs. 99-100; Declaration of Inv. Gallagher, executed May 31, 2024,

submitted in support of the motion (“Gallagher Dec.”), ¶ 15.

       88.     Protestors and disruptors continued to approach towards the front of the lecture hall

room, where Dr. Laffer and the CR members were located. See Gallagher Dec., ¶ 16.

       89.     Restuccia then stated that they leave the lecture hall. See Exhibit T, pgs. 99-100;

Gallagher Dec., ¶ 18.

       90.     Dr. Laffer was then escorted out of the lecture hall by a mix of Pinkerton agents

and UPD officers. See Exhibit J, pg. 298; Gallagher Dec., ¶ 19.

       91.     UPD officers arrested two protesters at the Laffer Event. See Exhibit Q, pg. 229.

One of those arrested was a student who was charged with disorderly conduct, and the other

individual arrested was not a student and was charged with disorderly conduct and obstruction of

governmental administration. Id. at pgs. 188, 220, 225-226, 229, 237.




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        92.     At the time of the Laffer Event, Pres. Stenger was traveling to Texas and California

and was not on campus. See Exhibit P, pg. 57; Stenger Dec., ¶¶ 34-35. He was not aware of the

disruption as it happened and did not give any orders in regards to the actions taken by the UPD

during the Laffer Event. See Exhibit P, pg. 57; Stenger Dec., ¶¶ 36.

Post-Laffer Event

        93.     In addition to the two individuals previously arrested, UPD identified eight

additional individuals that were involved and could be arrested and/or subject to student conduct

charges. See Exhibit O, pgs. 80-81; Exhibit GG.

        94.     The Broome County District Attorney thought charges could be pursued and did

pursue charges for the two individuals who were arrested at the Laffer Event. Exhibit Q, pg. 239.

        95.     For the eight remaining individuals, the UPD and University officials deliberated

in the several days that followed as to whether to conduct arrests or proceed with school

disciplinary action. See Exhibit O, pgs. 80-84.

        96.     Darcy Fauci, Pres. Stenger’s Chief of Staff, communicated the Pres. Stenger’s

personal desire to avoid further arrests if possible. Id. at pg. 85.

        97.     However, the ultimate decision as to whether to arrest was made by the UPD. See

Exhibit Q, pgs. 254-255; Stenger Dec., ¶ 37.

        98.     Pres. Stenger does not have the authority to determine whether arrests are made.

See Exhibit P, pg. 71; Exhibit Q, pg. 67; Stenger Dec., ¶ 16, 37.

        99.     The UPD decided not to arrest the remaining individuals. See Exhibit O, pg. 256.

Damages

        100.    None of the claimed monetary damages, which include Dr. Laffer’s speaking fee

and attorneys’ fees and costs, were sustained by CR. See Exhibit L, pg. 182.


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The Alleged “Speech Suppression Policy”

        101.        None of the CR witnesses are aware of or have read any so-called “speech

suppression policy.” See Exhibit C, pg. 128; Exhibit D, pg. 177; Exhibit E, pg. 103; Exhibit F, pgs.

179-180; Exhibit J, pg. 285; Exhibit I, pg. 110.

        102.        The “speech suppression policy” does not exist. See Stenger Dec., ¶ 12.

        103.        The University’s supports free speech and promotes the right to freely express

opinions in words or actions that are constitutionally protected under the First Amendment. Id., ¶

9.

        104.        UPD also enforces regulations which prohibit the deliberate disruption or

interference of lectures and speaking engagements in University facilities. See 8 NYCRR 535.3.

SUNY-Buffalo Settlement

        105.        Plaintiffs contend that SUNY had entered into a consent decree in June of 2017 in

connection with a heckler’s veto case at SUNY Buffalo (the “SUNY-Buffalo Settlement”). See

Exhibit A, ¶ 20.

        106.        The SUNY-Buffalo Settlement did not involve the University, YAF, CR, or any of

the same parties as this action. See Exhibit HH.

        107.        The SUNY-Buffalo Settlement did not contain any factual findings or admissions

of liability. Id.

        108.        The SUNY-Buffalo Settlement agreement provides “That this Stipulation of

Settlement and Discontinuance and any Order entered thereon shall have no precedential value or

effect whatsoever and shall not be admissible in any other action or proceeding as evidence or for

any other purpose except in an action or proceeding to enforce this Stipulation and

Discontinuance.” Id., ¶ 12.


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Dated: May 31, 2024                      BARCLAY DAMON LLP


                                         By:

                                                Matthew J. Larkin

                                         Attorneys for Defendant Harvey Stenger,
                                         President of SUNY-Binghamton, in his
                                         official and individual capacities
                                         Office and Post Office Address
                                         Barclay Damon Tower
                                         125 East Jefferson Street
                                         Syracuse, New York 13202




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